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                    Exhibit 11
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             Therapeutic Products Directorate - Protected B                                                 Information Request


             TPD Comment 1
             The Bureau requests that the Sponsor incorporates the events of peripheral arterial occlusive disease
             (PAOD), ischemic heart disease and ischemic cerebrovascular events, including a mention of the fatal
             cases, into the Serious Warnings and Precautions section.

             Rationale
             As per the Health Canada guidance.for Industry.for the Product Monograph (Effective Date: 2004-10-
             01), clinically significant or We-threatening safety hazards are to be included in the Serious Warnings
             and Precautions. The following observations support including atherosclerotic events in the box
             warnings:

                 •   Arterial occlusive adverse events associated with the use of nilotinib occur frequently with an
                     incidence of 6.8% with nilotinib 300 mg and of 5.8% with nilotinib 400 mg for all grades
                     cardiovascular events at the 12 month ana�ysis o_fStudy A2303. The 48 month follow-up ana�ysis
                     indicated that their incidence increases significantly with increased drug exposure to 14. 3% for
                     nilotinib 3()() mg and 13.4% for nilotinib 4()() mg. Serious cardiovascular events were al common
                     at the 48 month follow-up analysis (7.2% in the nilotinib 400 mg bid group vs 3.6 % in the
                     nilotinib 300 mg bid group vs 2.1% in the imatinib 400 mg qd group), leading to treatment
                     discontinuation in 3.6% of patients in the nilotinib 400 mg bid group.

                 •   Evidence from cases reported from the clinical trial, the post-market setting and the published
                     literature indicate that atherosclerotic events in association with the use of nilotinib can be
                     rapidly progressing, with multi-sites presentation1 .

                 •   Cases of serious arterial occlusive events, resistant to treatment have led to multiple
                     revascularisation procedures. In the two nilotinib arms of study A2302, 25 patients experienced
                     cardiac ischemic events. Eleven of those required a revascularisation procedure with 3 patients
                     needing multiple surgeries due to re-stenosis. Nine patients experienced PAOD, and of the 6
                     patients that required a revascularisation procedure, 3 patients needed multiple interventions,
                     including 1 amputation.

                 •    Treatment resistance is also reported in several cases from the published literature:

                          o   Case series of 24 patients: 3 developed aggressive PAOD that was resistant to treatment.
                              One patient was amputated. Two patients had pre-existing riskfactor and one develop
                              diabetes while on treatment but none had a history of PAOD.2

                          o   Retrospective analysis ofl79 patients: 11 (6.5%) developed severe PAOD (lower limb
                              involvement in all cases). One of those patients had no riskfactors. Time-to-onset of
                              PAOD ranged from 16 to 212 weeh with a median of 105 weeh. Patients were treated
                              with angioplasty and stent implantation. Four patients were amputated. 3

                 •   Atherosclerotic events have also been reported in patients without riskfactors4.

                 •   Based on the riskcommunication issued on April 12, 2013, there were at the time 14 Canadian
                     cases of atherosclerosis reported with the use ofTASJGNA. Additionally, based on the

             1
               Brauchli et al. (2010). Acta Oncologica. 49: 523-525. Aichberger et al. (2011). Am. J. Hematol. 86: 533-539.
             2
               Aichberger et al. (2011). Am. J. Hematol. 86: 533-539.
             3
               Lecoutre et al. (2011). JNCI. 103(17): 1347-1348.
             4
               Tefferi and Letendre (2001). Am. J. Hematol. :610-611


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PRODUCED SUBJECT TO CONFIDENTIALITY AGREEMENT
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